                    Case 3:19-mj-08803-RFC Document 1 Filed 10/07/19 Page 1 of 3

A09I (Rev 01/09) Criminal Complaint

                                      UNITED STATES DISTRICT COURT
                                                         for the
                                                 Western District of Texas

                  United States of America                   )
                                                                                                                                 I   6
                                 V.                          )

                   Edith HERNANDEZ                           )      Case No:
                  Desiree Maria SUTTON
                                                                    p                   s
                          Defendant(s)

                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief. On or about
the date of October 3. 2019. in the county of El Paso in the Western District of           Texas , the defendant violated
 U.S.C. § 1324      , an offense described as follows:



knowing and in reckless disregard of the fact that an alien has come to, entered, and remained in the United States in
violation of law, did transport, move, and attempt to transport and move such alien within the United States in furtherance
of said violation of the law.




        This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT




             Continued on the attached sheet.




Sworn to before me and signed in my presence.



Date: October 7, 2019
                                                                                         Judge sign ature

City and state: El Paso, Texas                                            Robert F. Castaneda U.S. Magistrate Judge
                                                                                        Printed name and title
           Case 3:19-mj-08803-RFC Document 1 Filed 10/07/19 Page 2 of 3



                                           AFFIDAVIT



On October 4, 2019, agents assigned to the Homeland Security Investigations (HSI) El Paso
Border Enforcement Security Taskforce responded to the El Paso Texas Border Patrol
checkpoint regarding a smuggling scheme apprehension at the checkpoint located on highway
62/180 at Desert Haven, Texas located in the Western District of Texas.

On October 3, 2019, at approximately 8:55 pm, a Border Patrol Agent was working the primary
inspection area when a Silver Nissan Versa bearing Texas plates LCC 6519 entered the
checkpoint lane for inspection. The Border Patrol agent greeted the two front passengers of the
vehicle and identified himself as a United States Border Patrol Agent. The driver of the vehicle
later identified as Edith HERNANDEZ stated she and all the occupants of the vehicle were all
United States Citizens. The front passenger later identified as Desiree Maria SUTTON stated
that she was also a United States Citizen. The Border Patrol Agent then noticed the three male
passengers in the back seat looking straight forward. The Border Patrol Agent asked
HERNANDEZ (driver) to roll down the rear window to ascertain the citizenship of the three
individuals, but HERNANDEZ continued looking forward and ignored the Border Patrol Agents
request. After several attempts, the Border Patrol Agent asked the two front female passengers
for an identification and directed them to secondary area for an immigration inspection of the
occupants.

At the secondary area, the Border Patrol Agent asked in the Spanish language the three
passengers that were sitting in the back seat of the vehicle if they had any immigration
documents allowing them to be or remain the country legally. All three subjects freely stated
that they were all illegally in the United States and were not in possession of any immigration
documents. All of the subjects were read their Miranda Rights individually and signed
accordingly and agreed to cooperate.

On October 4, 2019, at approximately 12:05 am, Border Enforcement Security Task Force
(BEST) agents arrived at the checkpoint to further investigate the case. Desiree SUTTON was
again advised of her Miranda rights to which she stated that she understood by acknowledging
her signature. SUTTON agreed to be questioned without an attorney present. SUTTON stated
that on October 3, 2019 they went to the Mesa Inn Hotel to meet with a guy by the moniker
name of "Fifty" who asked them if they wanted to move some "POLLOS" (undocumented
aliens) to Houston, Texas. SUTTON stated that "Fifty" would pay them $1,000 USD if they
agreed to take the "POLLOS" to Houston, Texas. SUTTON stated that she agreed to move the
undocumented aliens in her vehicle. SUTTON stated that "Fifty" gave her $300 USD for fuel
and $150 for utilizing her car.

Edith HERNANDEZ was again advised of her Miranda rights to which she stated that she
understood by acknowledging her signature. HERNANDEZ agreed to be questioned without an
           Case 3:19-mj-08803-RFC Document 1 Filed 10/07/19 Page 3 of 3



attorney present. HERNANDEZ stated that on October 3, 2019, her and her friend (SUTTON)
were staying at the Mesa Inn Hotel. HERNANDEZ stated that an individual by the name of
Hector came to their room and asked them if they needed money. HERNANDEZ stated that
Hector asked them if they were willing to move "POLLOS" up north. HERNANDEZ stated that
her and her friend (SUTTON) agreed to do it. HERNANDEZ stated that Hector was going to
pay them $2,000 USD per alien.

One subject, herein referred to as MAT-WIT #1 were advised of his Miranda rights. He
acknowledged and agreed to speak to agents without an attorney present. Below is an interview
summary. It is not intended to be a verbatim account and does not memorialize all statements
made during the interview.


MAT-WIT #1 stated he left El Salvador and arrived in Ciudad Juarez, Chihuahua, Mexico on
August 2, 2019. MAT-WIT#1 stated that he entered the United States on or about August 4,
2019 and was picked up that same day by an individual named Mario. MAT-WIT #1 stated that
Mario took him to a house where he stayed for approximately 50 days. MAT-WIT #1 stated that
after several days of no movement, he left on his own and was later picked up by an individual
named "Guero". MAT-WIT#1 stated that "GUERO" took him to a hotel. MAT-WIT #1 stated
that on Thursday, October 3, 2019 he and two other individuals were picked up at the hotel by
two young ladies later identified as Desiree SUTTON and Edith HERNANDEZ.

Because this Affidavit is being submitted for the limited purpose of establishing probable cause
as set forth herein, I have not included each and every fact known to me concerning this
investigation.
